Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 1 of 37 Page ID #:6419




 1 Shaun Setareh (SBN 204514)
      shaun@setarehlaw.com
 2 William M. Pao (SBN 219846)
    william@setarehlaw.com
 3 Jose Maria D. Patino, Jr. (SBN 270194)
    jose@setarehlaw.com
 4 Nolan Dilts (SBN 328904)
    nolan@setarehlaw.com
 5 SETAREH LAW GROUP
     9665 Wilshire Boulevard, Suite 430
 6 Beverly Hills, California 90212
     Telephone (310) 888-7771
 7 Facsimile (310) 888-0109

 8 Stanley D. Saltzman (SBN 90058)
      ssaltzman@marlinsaltzman.com
 9 MARLIN & SALTZMAN LLP
     29800 Agoura Road, Suite 210
10 Agoura Hills, California 91301
     Telephone (818) 991-8080
11 Facsimile (818) 991-8081

12 Attorneys for Plaintiff
     JAMES S. EVANS
13

14                             UNITED STATES DISTRICT COURT
15                         CENTRAL DISTRICT OF CALIFORNIA
16                                    WESTERN DIVISION
17

18 JAMES S. EVANS, on behalf of                Case No. 2:17-cv-07641-AB-KK
     himself, all others similarly situated,
19                                             Assigned For All Purposes to the
                  Plaintiff,                   Hon. Andre Birotté, Jr., Courtroom 7B
20
           vs.                                 NOTICE OF MOTION AND
21                                             MOTION FOR PRELIMINARY
     WAL-MART STORES, INC., a                  APPROVAL OF CLASS ACTION
22 Delaware corporation; and DOES 1            SETTLEMENT; MEMORANDUM
     through 50, inclusive,                    OF POINTS AND AUTHORITIES IN
23                                             SUPPORT THEREOF;
                  Defendants.                  DECLARATION OF SHAUN
24                                             SETAREH, JAMES S. EVANS AND
                                               STANLEY D. SALTZMAN;
25                                             [PROPOSED] ORDER
26                                             Date: November 12, 2021
                                               Time: 10:00 a.m.
27                                             Place: Courtroom 7B
28
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 2 of 37 Page ID #:6420




 1 TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:

 2        PLEASE TAKE NOTICE that on November 12, 2021 at 10:00 a.m., or as soon
 3 thereafter as the matter may be heard in Courtroom 7B of this Court, located at 350

 4 West First Street, Los Angeles, California 90012, Plaintiff JAMES S. EVANS

 5 (“Plaintiff”), individually and behalf the class he seeks to represent, by and through

 6 his attorneys of record, will move for an order that this case be maintained as a class

 7 action for the purposes of settlement under Federal Rule of Civil Procedure (“Rule”)

 8 23 and Local Rule (“L.R.”) 23-3, on behalf of a settlement class comprised of

 9 Plaintiff and all other persons similarly situated, for an order directing notice to the

10 class, and for a scheduling order setting a Fairness Hearing for final approval of the

11 proposed settlement.

12        This motion is based upon this notice, the accompanying Memorandum of
13 Points and Authorities, the Declarations of Shaun Setareh, James S. Evans, Stanley

14 D. Saltzman, and all documents and arguments in support thereof.

15        The parties to this action hereby jointly request the following relief:
16        1.     Preliminary approval of the Class Action Settlement, attached as Exhibit
17 24 to the Declaration of Shaun Setareh (“Setareh Decl.”), which has been reached

18 between them, so that they may proceed with notice to the class and to a Fairness

19 Hearing for Final Settlement Agreement approval;

20        2.     Conditional certification of the Settlement Class defined in the Class
21 Action Settlement Agreement for settlement purposes pursuant to Rule 23, the

22 appointment of Plaintiff James S. Evans as the Settlement Class Representative, and

23 the appointment of Shaun Setareh and William M. Pao of the Setareh Law Group and

24 Stanley D. Saltzman of Marlin & Saltzman LLP as Settlement Class Counsel;

25        3.     An Order directing the dissemination of the notice of class action
26 settlement to the Settlement Class, via United States First-Class Mail, in the form

27 attached as Exhibits “A” (Postcard Notice) “B” (Long Form Notice) to the Settlement

28 Agreement. (Setareh Decl., ¶ 24.);
                                                i
     NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 3 of 37 Page ID #:6421




 1        4.     Appointment of Phoenix Settlement Administrators as the Settlement
 2 Administrator;

 3        5.     Preliminarily barring any Settlement Class Members or those purporting
 4 to be Settlement Class Members, unless they have timely excluded themselves from

 5 the Settlement Class as provided in Section 8, from commencing or continuing to

 6 prosecute any action if such other action is based on or relates to the allegations and

 7 claims in this Action;

 8        6.     An Order setting a schedule for the dissemination of notice to the
 9 Settlement Class; deadlines for Settlement Class Members to opt-out of the

10 Settlement; and deadlines for Settlement Class Members to object to the settlement;

11 or to enter an appearance through counsel; and for a Fairness Hearing to address final

12 approval of the Class Action Settlement Agreement following the notice period.

13        7.     Any other relief that the Court deems just and equitable under the
14 circumstances.

15

16 DATED: September 3, 2021                SETAREH LAW GROUP
17

18                                         /s/ Shaun Setareh
                                           SHAUN SETAREH
19                                         Attorneys for Plaintiff
                                           JAMES S. EVANS
20

21 DATED: September 3, 2021                MARLIN & SALTZMAN LLP
22

23                                         /s/ Stanley D. Saltzman
                                           STANLEY D. SALTZMAN
24                                         Attorneys for Plaintiff
                                           JAMES S. EVANS
25

26

27

28
                                              ii
     NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 4 of 37 Page ID #:6422




 1                             TABLE OF CONTENTS
 2    I.   INTRODUCTION……………………………………………………………...1
 3   II.   BACKGROUND……………………………………………………………….1
 4         A.   FACTUAL AND LEGAL INVESTIGATION AS TO THE MERITS OF
 5              PLAINTIFF’S CLAIMS…………………….…………………………..2
 6         B.   PLEADINGS AND MATERIAL ALLEGATIONS……………………3
 7         C.   FORMAL WRITTEN DISCOVERY AND DEPOSITIONS……….…..3
 8         D.   THE COURT’S CLASS CERTIFICATION ORDER…………………..4
 9         E.   POST-CERTIFICATION DISCOVERY AND RETENTION AND
10              DEPOSITIONS OF EXPERT WITNESSES………..………………….6
11              1.   Plaintiff’s Damages Expert, James Toney……………………….6
12              2.   Walmart’s Rebuttal Expert, Dr. Elizabeth Hart Newlon…………7
13         F.   DEFENDANT’S MOTIONS FOR SUMMARY JUDGMENT,
14              DECERTIFICATION, AND STRIKING THE REPORT OF
15              PLAINTIFF’S EXPERT WITNESS……………………...……………..7
16              1.   Walmart’s Summary Judgment Motion…………..………………8
17              2.   Walmart’s Motion to Decertify……………………………..…….8
18         G.   THE PARTIES FAILED MEDIATION ATTEMPT……………….…..9
19         H.   PRE-TRIAL FILING AND FINAL PRE-TRIAL CONFERENCE….…9
20         I.   NEGOTIATIONS, SETTLEMENT AND POST-SETTLEMENT
21              CONSIDERATION……………………………………..……...….…..10
22 III.    SUMMARY OF THE PROPOSED SETTLEMENT……………….……..…10
23         A.   The Scope of The Release…………………………………….……..…10
24         B.   The Key Terms of the Settlement’s Monetary Benefits………………..10
25              1.   PAGA Fund and Payment to the Labor and Workforce
26                   Development Agency…………………...………………………11
27              2.   Individual Payment to the Wage Statement Class………………11
28              3.   Proposed Class Representative Service Payment……………….12
                                           iii
     NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 5 of 37 Page ID #:6423




 1        C.    ATTORNEYS’ FEES AND EXPENSES..……………………………12
 2        D.    THE SETTLEMENT CLASS REPRESENTATIVE AND
 3              SETTLEMENT CLASS COUNSEL….14
 4        E.    CLASS NOTICE……………………………………..…...…………...14
 5        F.    THE SETTLEMENT ADMINISTRATOR WAS SELECTED AFTER
 6              OBTAINING MULTIPLE BIDS..…………………………………….15
 7              1.   The Court Should Approve the Establishment of a Qualified
 8                   Settlement Fund…...……………………………………….……15
 9 IV.    LEGAL ARGUMENT AND STANDARD…..………………………………16
10        A.    THE FORM AND MANNER OF NOTICE TO THE CLASS
11              SATISFIES FED.R.CIV. P. 23(e)(1) AND SHOULD BE
12              APPROVED……………………………………………………………18
13        B.    THE PROPOSED SETTLEMENT SATISFIES FED.R.CIV. P. 23(e)(2)
14              BECAUSE IT IS FAIR, REASONABLE AND ADEQUATE………..20
15              1.   The Class Representatives and Class Counsel Have Adequately
16                   Represented the Class…………………...………………………21
17              2.   The Proposal Was Negotiated at Arm’s Length………………...21
18              3.   The Relief Provided for the Class Is Adequate………………….22
19                   a.     The Costs, Risks and Delay of Trial and Appeal……...…22
20                   b.     The Effectiveness of Any Proposed Method of Distributing
21                          Relief to the Class, Including the Method of Processing
22                          Class-Member Claims……………………...…………….27
23                   c.     The Terms of Any Proposed Award of Attorneys’ Fees,
24                          Including Timing of Payment………………….…………27
25                   d.     Any Agreement Required to Be Identified Under Rule
26                          23(e)(3)……………….…………………………………..28
27              4.   The Proposal Treats Class Members Equitably to Each Other….28
28 V.     PROPOSED SCHEDULE OF EVENTS…..…………………………………28
                                           iv
     NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 6 of 37 Page ID #:6424




 1                                             TABLE OF AUTHORITIES
 2 Cases

 3 Acosta v. Evergreen Moneysource Mortgage Company, 2018 WL 3831004 at *2
              (E.D. Cal. Aug. 13, 2018) ............................................................................... 17
 4
     Arias v. Superior Court (2009) 46 Cal. 4th 969 ....................................................... 24
 5
     AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 349 (2011) ............................... 18
 6
     Bayat v. Bank of the West, 2015 WL 1744342, at *4 (N.D. Cal. Apr. 15, 2015)..... 24
 7
     Bellinghausen v. Tractor Supply Co., 306 F.R.D. 245, 256 (N.D. Cal. 2015) ......... 24
 8
     Bravo v. Gale Triangle, Inc., 2017 WL 708766, *10 (C.D. Cal. Feb. 16, 2017) ..... 24
 9
     Churchill Vill, LLC v. Gen. Elec, 361 F.3d 566, 575 (9th Cir. 2004) .......................... 18
10
     City Partnership Co. v. Atlantic Acquisition Ltd. P’ship, 100 F. 3d 1041, 1043 (1st
11         Cir. 1996) ........................................................................................................ 22
12 Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992) .................. 17

13 Cotter v. Lyft, Inc. (N.D. Cal. 2016) 193 F.Supp.3d 1030, 1037 ............................. 25

14 Fleming v. Covidien, No. ED CV 10-01487 RGK (OPx), 2011 WL 7563047 at *4
              (C.D. Cal. Aug. 12, 2011) .............................................................................. 25
15
     Litty v. Merrill Lynch & Co., Inc., 2015 WL 4698475, at *9 (C.D. Cal. Apr. 27, 2015)
16           ........................................................................................................................ 24
17 Magadia v. Wal-Mart Assocaites, Inc., 999 F.3d 668 (9th Cir. 2021) ..................... 26

18 Mays v. Wal-Mart Stores, Inc., 804 Fed.Appx. 641 (9th Cir. 2020) ........................ 26

19 Monterrubio v. Best Buy Stores, L.P., 291 F.R.D. 443, 452-53 (E.D. Cal. 2013) ........ 18

20 Murillo v. Pac. Gas & Elec. Co., 266 F.R.D. 468, 473 (E.D. Cal. 2010) .................... 20

21 National Rural Telecommunications Cooperative v. DIRECTV, Inc., 221 F.R.D. 523,
              528 (C.D. Cal. Jan. 5, 2004) ........................................................................... 22
22
     Natl Rural Telecommc’ns Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525 (CD. Cal.
23         2004) ............................................................................................................... 20
24 Ochoa-Hernandez v. Cjaders Foods, Inc. 2010 WL 134077, at *4 (N.D. Cal. Apr. 2,
              2010) ............................................................................................................... 24
25
     Officers for Justice v. Civil Service Com’n of City and Cty. of S.F., 688 F.2d 615, 628
26         (9th Cir. 1982) ................................................................................................ 24
27 Redwen v. Sino Clean Energy, Inc., No. CV 11-3936 PA (SSx), 2013 WL 12303367,
              at *6 (C.D. Cal. July 9, 2013) ......................................................................... 26
28
                                                                    v
       NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 7 of 37 Page ID #:6425




 1 Rodriguez v. West Publishing Corp., 563 F.3d 948, 965 (9th Cir. 2009) ................ 21

 2 Roes v. SFBSC Mgmt., LLC, 944 F.3d 1035, 1055 (9th Cir. 2019) ......................... 13

 3 Spann v. J.C. Penney Corporation, 314 F.R.D. 312, 330 (C.D. Cal. Jan. 25, 2016).... 18

 4 Staton v. Boeing Co., 327 F.3d 938, 952 (9th Cir. 2003) ......................................... 17

 5 Staton v. Boeing Co., 327 F.3d 938, 959 (9th Cir. 2002) ......................................... 17

 6 TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021) ........................................... 23, 26

 7 U.S. v. Alexander, 106 F.3d 874 (9th Cir. 1997) ...................................................... 17

 8 Viceral v. Mistras Grp., Inc. (N.D. Cal. Oct. 11, 2016, 2016 WL 5907869 at *9 ... 25

 9 Williams v. Costco Wholesale Corp., No. 02cv2003 IEG (AJB) ................................ 20

10 Yamada v. Nobel Biocare Holding AG, 825 F.3d 536, 546 (9th Cir. 2016) ............ 13

11 Statutes

12 28 U.S.C. § 1332(d)(2)................................................................................................. 3

13 Lab. Code §§ 2698 ....................................................................................................... 3

14 Labor Code § 2699 .................................................................................................... 23

15 Labor Code 226 ........................................................................................................... 3

16 Labor Code section 226 .............................................................................. 1, 8, 23, 25

17 Labor Code section 226(e)(1) ..................................................................................... 7

18 Labor Code section 2699 ........................................................................................... 11

19 Labor Code section 2699(i) ........................................................................................ 11

20 Rules

21 Fed. R. Civ. P. 23(h)(1) .............................................................................................. 19

22 Fed.R.Civ.P. 23 ....................................................................................................... 1, 5

23 Fed.R.Civ.P. 23(a)(3) .................................................................................................. 5

24 Fed.R.Civ.P. 23(a)(4) .................................................................................................. 6

25 Fed.R.Civ.P. 23(b)(3) ................................................................................................. 6

26 Fed.R.Civ.P. 23(e) ...................................................................................................... 1

27 Fed.R.Civ.P. 23(e)(2)(A) .......................................................................................... 21

28 Fed.R.Civ.P. 23(e)(2)(C)(i) ........................................................................................ 22
                                                                 vi
        NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 8 of 37 Page ID #:6426




 1 Fed.R.Civ.P. 23(e)(2)(C)(ii). ...................................................................................... 26

 2 Fed.R.Civ.P. 23(e)(2)(C)(iii) ...................................................................................... 27

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                              vii
       NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 9 of 37 Page ID #:6427




 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.        INTRODUCTION1
 3           In accordance with Fed.R.Civ.P. 23(e), Plaintiff respectfully requests that the
 4 Court preliminarily approve this $35 million ($35,000,000) non-reversionary

 5 settlement that was negotiated at arms-length between counsel the morning of the

 6 Final Pre-Trial Conference. The recovery achieved is for statutory and civil penalties

 7 pursuant to Labor Code section 226. To Plaintiff’s counsel’s knowledge this matter

 8 is one the largest statutory penalty settlements pursuant to Labor Code section 226.

 9           The settlement amount is fair, adequate, and reasonable given the strengths and
10 risks of litigating the case through trial and appeal.

11           Plaintiff’s counsel will seek attorney’s fees of one-third of the gross settlement
12 amount plus out-of-pocket expenses incurred in prosecuting this action. Under the

13 “lodestar” and/or “percentage-of-recovery” methods applied in this Circuit, Plaintiff’s

14 counsel seeks an upward adjustment to the 25% benchmark.

15           The claims administrator will send a postcard notice that includes basic
16 information including summary of the settlement, a description of who is a class

17 member, identifying Settlement Class Counsel, directing Settlement Class Members

18 to the Settlement Website and instructions on how to proceed; along with other notice

19 requirements as set forth in Fed.R.Civ.P. 23.

20           For the reasons set forth below, this Court should grant preliminary approval of
21 the Settlement.

22 II.       BACKGROUND
23           Plaintiff litigated this case diligently and aggressively against Walmart for
24 almost four years through shortly before trial by: (i) conducting extensive factual and

25

26

27   Walmart does not concede the Plaintiff’s allegations, nor does it concede all of the
     1
   factual statements or characterizations of legal positions set forth herein. For
28 purposes of this Settlement, however, Walmart does not oppose the filing of this
   Motion or the granting of preliminary approval.
                                                 1
         NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 10 of 37 Page ID #:6428




  1 legal investigation prior to the filing of the lawsuit; (ii) engaging in comprehensive

  2 discovery, including but not limited to deposing Walmart’s Rule 30(b)(6) witness and

  3 defending the deposition of Plaintiff; (iii) successfully certifying the wage statement

  4 claim pursuant to Rule 23 and advancing the costs of sending class notice to the

  5 putative class; (iv) written and document discovery including review and analysis of

  6 voluminous timekeeping and payroll records for the putative class; (v) post-

  7 certification discovery and expert witness retention and depositions; (vi) retention of

  8 Michelle Yoshida to mediate the case; (vii) defeating Walmart’s motion for partial

  9 summary judgment on the certified wage statement claim; (viii) defeating Walmart’s

 10 motion to decertify the wage statement class; (ix) engaging Stan Saltzman of Marlin

 11 & Saltzman LLP as trial counsel to heighten the probability of resolving the case

 12 and/or trying the matter successfully; (x) drafting all pre-trial filings including

 13 motions in limine and opposing Walmart’s motions in limine, and preparation for the

 14 Final Pre-Trial Conference and trial; (xi) resolving the wage statement claim on a

 15 class-wide basis with Walmart.

 16        The Settlement is the product of well-informed, arm’s-length settlement
 17 negotiations that spanned over five months beginning at mediation and arrives at a

 18 critical juncture in the litigation, after extensive motion practice and discovery,

 19 including certification and summary judgment proceedings, but before the Court was

 20 to render dispositive rulings on the parties’ motions in limine that would have a

 21 substantial impact on how the case would be tried to a jury. The Settlement presents

 22 an excellent recovery and delivers tangible and immediate benefits to the Settlement

 23 Class, particularly considering the substantial risks protracted litigation would

 24 present. The Court should grant preliminary approval.

 25        A.     FACTUAL AND LEGAL INVESTIGATION AS TO THE MERITS
                  OF PLAINTIFF’S CLAIMS
 26

 27        Prior to filing the complaint, Plaintiff’s counsel conducted an extensive
 28 investigation pertaining to the factual and, most importantly, legal viability of the
                                                 2
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 11 of 37 Page ID #:6429




  1 claims that were resolved in this case. (Declaration of Shaun Setareh (“Setareh

  2 Decl.”), ¶ 3.) Plaintiff’s counsel undertook a thorough review of the case law,

  3 opinion letters, and legislative history relevant to the wage statement claim. As more

  4 specifically explained below, the claims involved complex novel legal issues as there

  5 is a dearth of authority, whether state or federal, directly on point to the claims that

  6 were certified and headed to trial. In this nuanced class and representative action

  7 which was resolved on the morning of the Final Pre-Trial Conference, Plaintiff relied

  8 upon the plain meaning of the statute and several opinion letters from the California

  9 Division of Labor Standards Enforcement (the California regulatory agency tasked

 10 with enforcement of the Labor Code) in support of his position that Walmart’s

 11 conduct violated the Labor Code and was therefore legally liable to the class.

 12 Walmart denies liability and disputes the Plaintiff’s position.

 13        B.     PLEADINGS AND MATERIAL ALLEGATIONS
 14        On September 13, 2017, Plaintiff filed this putative class action in the Los
 15 Angeles County Superior Court alleging a claim for Failure to Provide Accurate Written

 16 Wage Statements in violation of Labor Code 226, among other claims. (Setareh Decl., ¶

 17 4.)

 18        On October 18, 2017, Walmart removed the action to federal court pursuant to the
 19 Class Action Fairness Act of 2005 (“CAFA”) (28 U.S.C. § 1332(d)(2).) (ECF 1)

 20 (Setareh Decl., ¶ 5.)

 21        On November 20, 2017, Plaintiff filed a First Amended Complaint adding
 22 Keineisha Smith as an additional class representative an adding, among other claims, an

 23 additional cause of action for civil penalties under the Labor Code Private Attorneys

 24 General Act of 2004 (“PAGA”) (Lab. Code §§ 2698 et seq.) (ECF 12) (Setareh Decl., ¶

 25 6.)

 26        C.     FORMAL WRITTEN DISCOVERY AND DEPOSITIONS
 27        The parties engaged in extensive discovery. (Setareh Decl., ¶ 7.) Class counsel
 28 served interrogatories, requests for admissions and document requests, and obtained
                                                 3
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 12 of 37 Page ID #:6430




  1 written responses and document production from Walmart. (Id.) Subsequently, Walmart

  2 continued to produce documents on a rolling basis and eventually produced more than

  3 two thousand pages of documents altogether and voluminous electronic data. On

  4 August 19, 2019, Walmart took the deposition of Plaintiff. (Setareh Decl., ¶ 8.) Walmart

  5 also served written discovery consisting of interrogatories, requests for admissions and

  6 document requests on Plaintiff, who provided complete written responses and

  7 documents. (Setareh Decl., ¶ 9.)

  8           On February 4, 2020, Plaintiff took the deposition of Walmart’s Rule 30(b)(6)
  9 witness, Ms. Diana McChristian, in Bentonville, Arkansas. (Setareh Decl., ¶ 11.)

 10           D.     THE COURT’S CLASS CERTIFICATION ORDER
 11           On July 22, 2019, Plaintiff filed his motion for class certification.2 (Setareh Decl.,
 12 ¶ 12.) In pertinent part, Plaintiff sought to certify the following class of individuals

 13 pursuant to Rule 23:

 14                  Wage Statement Class3
 15                  “All persons employed as hourly-paid employees by Defendant in
                     any store in California at any time during the period beginning one
 16                  year before the filing of this action and ending when final judgment
                     is entered.”
 17

 18           Plaintiff’s counsel relied upon the extensive discovery produced by Walmart in
 19 this case, including but not limited to, the deposition of Walmart’s Rule 30(b)(6)

 20 witness, Ms. Diana McChristian, along with Walmart’s written responses to Plaintiff’s

 21 written discovery, including relevant documents produced by Walmart.

 22           After the matter was fully briefed and having considered oral arguments, this
 23

 24
      2
 25   At the time, both James S. Evans and Keineisha Smith were putative class
    representatives. On November 14, 2019, the parties stipulated to dismiss Keineisha
 26 Smith from this action without prejudice. (ECF 92.)
    3
 27   Although the Court granted class certification as to both the Regular Rate Class and
    the Wage Statement Class, the claims of the Regular Rate Class were dismissed on
 28 summary judgment and the order dismissing that claim was entered on September 15,
    2020. (ECF 181.)
                                                    4
          NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 13 of 37 Page ID #:6431




  1 Court issued an order granting Plaintiff’s motion and certifying the Wage Statement

  2 Class pursuant to count V (failure to provide accurate written wage statements). (ECF

  3 95.) The Court certified the Wage Statement Class as:

  4               “All persons employed as hourly-paid employees by Defendant in
                  any store in California at any time during the period beginning one
  5               year before the filing of this action and ending when final judgment
                  is entered.”
  6

  7         First, the Court concluded that Plaintiff has satisfied the numerosity requirement
  8 by presenting evidence that there are more than 200,000 putative class members, which

  9 Walmart does not contest. Therefore, the numerosity requirement is satisfied.

 10 (Fed.R.Civ.P. 23(a)(1)) (Id., 17:11-18.)

 11         Second, the Court further agreed that Plaintiff has “provided common evidence as
 12 to Defendant’s payment policy as it applies to putative class members.” (Fed.R.Civ.P.

 13 23(a)(2)) (Id., at 18:14-15.) Moreover, the Court rejected Walmart’s arguments that it

 14 does in fact provide paper wage statements, and that its policy with respect to electronic

 15 wage statements, go purely to the merits of Plaintiff’s claim and do not affect the Court’s

 16 Rule 23 analysis. (Id., at 18-15-21.)

 17         Third, in finding that the typicality requirements of Rule 23(a)(3) was satisfied,
 18 the Court found that “[b]ecause Plaintiff[] ha[s] shown that Evans was not given the

 19 opportunity to receive paper wage statements [] and that Evans was subjected to the

 20 same payment policy as other putative members of the Wage Statement class, []

 21 Plaintiff[] ha[s] shown that other members of the Wage Statement Class have suffered

 22 the same or similar injury, and that the action is based on conduct that is not unique to

 23 Evans. Further, because Plaintiff [] showed that the alleged injury occurred pursuant to a

 24 policy of Defendant, Plaintiff [] ha[s] demonstrated that class members were purportedly

 25 injured by the same course of conduct.” (Fed.R.Civ.P. 23(a)(3)) (Id., at 19:6-14.)

 26         Fourth, and with respect to adequacy, the Court concluded that Plaintiff has
 27 shown that Evans and class counsel have no conflicts of interest with other class

 28 members, and further held that the record shows that Plaintiff has vigorously prosecuted
                                                  5
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 14 of 37 Page ID #:6432




  1 this action and therefore concluded that the adequacy requirement is satisfied.

  2 (Fed.R.Civ.P. 23(a)(4)) (Id., at 19:17-20:3.)

  3         Lastly, in finding that “questions of law or fact common to class members
  4 predominate over any questions affecting only individual members, and that a class

  5 action is superior to other available methods for fairly and efficiently adjudicating the

  6 controversy” the Court found that Plaintiff has shown that the only “individualized

  7 determination that would be necessary is whether each putative class member was given

  8 the opportunity to elect to receive a paper wage statement. (Fed.R.Civ.P. 23(b)(3).)

  9 Because Plaintiffs challenge Defendant’s purported policy of failing to provide

 10 employees with an opportunity to elect to receive a written wage statement, the

 11 individualized inquiries required in this action are limited.” (Id., at 20:18-23.)

 12         Following this Court’s order granting in part Plaintiff’s motion for class
 13 certification, the parties met and conferred regarding the form and content of the class

 14 notice and agreed that Phoenix Settlement Administrators should be the notice

 15 administrator and that it shall be sent to the certified class. (Setareh Decl., ¶ 13.) On

 16 January 10, 2020, the parties filed the stipulation to disseminate class notice. (ECF 98.)

 17 On January 13, 2020, this Court subsequently entered an order granting the stipulation

 18 and ordering that the Notice Administrator send out notice within seven calendar days

 19 after receipt of the data from Walmart. (ECF 101.)

 20         Ultimately, there were a total of 200,787 notices mailed to the putative class.
 21 (Setareh Decl., ¶ 14.) Of those mailed, 2,557 notices were returned and 29 notices were

 22 forwarded. (Id.) The Notice Administrator received 127 requests to opt-out which

 23 amounted to just 0.00063% of the total putative class. (Id.)

 24         E.     POST-CERTIFICATION DISCOVERY AND RETENTION AND
                   DEPOSITIONS OF EXPERT WITNESSES
 25

 26         On May 3, 2018, this Court issued a Scheduling Order that set the deadline for
 27 initial expert disclosures to take place no later than December 15, 2019. (ECF 26.)

 28
                                                  6
       NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 15 of 37 Page ID #:6433




  1                 1.   Plaintiff’s Damages Expert, James Toney
  2         Plaintiff retained damages expert James Toney who is qualified to render expert
  3 opinions with respect to the damages attributable to Walmart’s conduct. Mr. Toney is a

  4 damages expert who has been accepted as an expert by many federal and state courts and

  5 arbitration panels across the country. Using industry-standard accounting methods,

  6 Toney calculated damages for the class resulting from Walmart’s alleged failure to

  7 provide its associates with an opportunity to elect paper wage statements once they have

  8 elected to receive their wages electronically. His calculation is straightforward: it simply

  9 determines the total number of associates who were receiving electronic wage statements

 10 during the Class Period based on the data supplied by Walmart and applies the statutory

 11 penalty ($50 for the initial violation and $100 for subsequent violations with a cap of

 12 $4,000 per person pursuant to Labor Code section 226(e)(1)). Class Counsel advanced

 13 all of the costs associated with Mr. Toney’s work on behalf of Plaintiff and the putative

 14 class. (Setareh Decl., ¶ 15.) Mr. Toney’s calculations were instrumental in achieving the

 15 Class recovery and would not have been possible without his efforts.

 16                 2.   Walmart’s Rebuttal Expert, Dr. Elizabeth Hart Newlon
 17         On January 15, 2020, Walmart disclosed that it had retained Dr. Elizabeth Hart
 18 Newlon (“Dr. Newlon”) as its rebuttal expert. (Setareh Decl., ¶ 16.) Dr. Newlon

 19 obtained her Ph.D. from Carnegie Mellon University and prior to entering private

 20 practice, was an Assistant Professor at the University of Kentucky where she taught

 21 graduate classes in equilibrium theory and undergraduate classes in microeconomics.

 22 (Id.)

 23         On February 15, 2021, Class Counsel took the deposition of Dr. Newlon. (Setareh
 24 Decl., ¶ 17.)

 25         F.      DEFENDANT’S MOTIONS FOR SUMMARY JUDGMENT,
                    DECERTIFICATION, AND STRIKING THE REPORT OF
 26                 PLAINTIFF’S EXPERT WITNESS
 27         On January 31, 2020, Walmart filed three motions: (1) motion for partial summary
 28 judgment; (2) motion for decertification; and (3) motion to strike the expert report of
                                                 7
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 16 of 37 Page ID #:6434




  1 James Toney. 4 (ECF 109, 118, 119.) (Setareh Decl., ¶ 18.) The motions were

  2 vigorously opposed by Plaintiff.

  3                 1.     Walmart’s Summary Judgment Motion
  4           Walmart made two chief arguments in support of their motion for partial summary
  5 judgment. (ECF 109.) First, Walmart’s argued that it complied with Labor Code section

  6 226 because the “undisputed facts now show that all Walmart’s California associates had

  7 the opportunity to elect to receive a paper wage statement and receive live, physical

  8 payroll check with a paper wage statement attached until they affirmatively sign up for

  9 another option.” (Id., at 8:12-26.) Second, Walmart asserted that Plaintiff cannot show

 10 that the violation of willful. (Id., at 11:15-12:22.)

 11           On September 14, 2020, and in denying Walmart’s motion, this Court again stated:
 12           “As this Court explained in its class certification order, here the gravamen
              of Plaintiff’s wage statement claim is that Walmart did not provide
 13           Plaintiff and other employees “with an opportunity to elect to receive a
              [paper] wage statement.”
 14

 15 (ECF 181, at 7:23-26.)

 16           After the Court issued its Order granting in part and denying in part Walmart’s
 17 motion for partial summary judgment, the parties were ordered to meet and confer

 18 regarding new proposed pre-trial and trial dates. The parties met and conferred and

 19 subsequently jointly filed a stipulation continuing the Final Pre-Trial Conference

 20 (“FPTC”) to April 30, 2021 with the first round of pre-trial filings due three weeks prior

 21 to the FPTC, and the second round of trial filings due two weeks prior to the FPTC. (ECF

 22 185.)

 23                 2.     Walmart’s Motion to Decertify
 24           In filing its motion for decertification, Walmart claimed that “the undisputed facts
 25 now show that all Walmart’s California associates had the opportunity to receive a paper

 26

 27

 28
      4
       The parties subsequently stipulated to Walmart’s withdrawal of this motion. (ECF
      162.)
                                                    8
          NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 17 of 37 Page ID #:6435




  1 wage statement.” (ECF 118, at 2:12-13.) Similarly, Walmart’s arguments to decertify the

  2 claims of the Wage Statement Class all focus on their contention that Plaintiff failed to

  3 provide a methodology to calculate damages on a class wide basis. (Id., at 4:6-8:11.)

  4         In denying Walmart’s motion, this Court explained:
  5                Here, the gravamen of Plaintiffs’ wage statement claim is that
                   Defendant violated California Labor Code section 226(a) because
  6                Defendant did not provide Walmart associates with an opportunity
                   to elect to receive wage statements in paper, rather than electronic,
  7                form. (Dkt. No. 95 at 20.) Defendant contends that predominance
                   cannot be established with respect to the Wage Statement Class
  8                because the factfinder will need to determine a wide array of
                   individual questions, such as (1) whether each member received a
  9                paper check and wage statement, (2) whether each member
                   preferred to receive electronic wage statements, (3) whether each
 10                member was allegedly directed to elect electronic pay, (4) whether
                   each member printed wage statements at work for free, and (5)
 11                whether each member accessed their wage statements on an
                   electronic device. (Dkt. No. 137 at 11-13.) However, as the Court
 12                previously held in its class certification order, “Plaintiffs have
                   shown that the individualized inquiries inherent in the putative
 13                Wage Statement Class’s cause of action would necessarily be more
                   circumscribed. In particular, the only individualized determination
 14                that would be necessary is whether each putative class member
                   was given the opportunity to elect to receive a paper wage
 15                statement.” (Dkt. No. 95 at 20 (emphasis added).) As this Court
                   explained, “[b]ecause Plaintiffs challenge Defendant’s purported
 16                policy of failing to provide employees with an opportunity to elect
                   to receive a written wage statement, the individualized inquiries
 17                required in this action are limited.”
 18 (ECF 182, at 6:19-7:9) (emphasis in original.)

 19         G.     THE PARTIES FAILED MEDIATION ATTEMPT
 20         On December 7, 2020, the Parties mediated the matter before Michelle
 21 Yoshida of Philips ADR; a well-regarded mediator with extensive experience

 22 mediating class actions. (Setareh Decl., ¶ 19.) Unfortunately, the parties were not

 23 successful in resolving the matter. (Id.)

 24         H.     PRE-TRIAL FILING AND FINAL PRE-TRIAL CONFERENCE
 25         On April 12, 2021, and in compliance with this Court’s pre-trial scheduling order,
 26 the parties filed their respective motions in limine (four for Plaintiff and three for

 27 Walmart), preparing a detailed memorandum detailing Plaintiff’s contentions of fact and

 28 law applicable to the case, gathering and indexing the parties’ joint exhibit and witness
                                                  9
       NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 18 of 37 Page ID #:6436




  1 lists, drafting a proposed findings of fact and conclusions of law, the joint proposed jury

  2 verdict forms along with disputes jury ones, among others as specified in the Court’s

  3 Order. (Setareh Decl., ¶ 20.) On April 19, 2021, the following week, they filed their

  4 respective oppositions to the motions in limine among others. (Setareh Decl., ¶ 21.)

  5           I.     NEGOTIATIONS, SETTLEMENT AND POST-SETTLEMENT
                     CONSIDERATION
  6

  7           Counsel for the parties had spoken intermittently regarding settlement after the
  8 unsuccessful mediation in December 2020. Several days before the FPTC those

  9 discussions between counsel for the parties began again in earnest. Those settlement

 10 discussions continued through the night prior to the FPTC and some further

 11 discussions the morning of the FPTC. (Setareh Decl., ¶ 22.)

 12           Ultimately, the parties agreed to settle the wage statement claims on a class-
 13 wide basis for $35 million. (Setareh Decl., ¶ 23.)

 14 III.      SUMMARY OF THE PROPOSED SETTLEMENT
 15           A.     THE SCOPE OF THE RELEASE
 16           The proposed Settlement Class is defined as follows:
 17                  [A]ll Walmart associates who worked in a non-exempt position
                     at a Walmart Retail Location5 in California during the period of
 18                  one year prior to the filing of Plaintiff’s suit through preliminary
                     approval of this matter.
 19

 20 (Settlement, ¶ 2.31.)

 21           In exchange for the Settlement’s benefits, Settlement Class Members will
 22 release any claims against Walmart that it violated Section 226 of the Labor Code.

 23 (Id., ¶ 12.1.)

 24 ///

 25 ///

 26

 27
      5
 28     Walmart Retail Locations are defined in the Settlement Agreement as Walmart
      stores, supercenters and neighborhood markets. (Settlement, ¶ 2.42.)
                                                   10
          NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 19 of 37 Page ID #:6437




  1        B.     THE KEY TERMS OF THE SETTLEMENT’S MONETARY
  2               BENEFITS
  3        The Settlement provides for a non-reversionary Class Settlement Amount of
  4 $35 million to cover all payments under the Settlement. (Settlement, ¶ 5.1.) The $35

  5 million Class Settlement Amount is the maximum amount that Walmart shall pay

  6 under the Settlement and none of the Class Settlement Amount shall revert to

  7 Walmart. (Id.) The parties have agreed to a settlement formula which allocates

  8 settlement amounts to Class Members on a pro rata basis, based on the number of

  9 Pay Periods worked during the Settlement Class Period. (Id.) The amount paid to

 10 each individual shall be allocated 100% as penalties. (Settlement, ¶ 5.2.5.)

 11               1.    PAGA Fund and Payment to the Labor and Workforce
 12                     Development Agency
 13        $500,000.00 of the Class Settlement Amount shall be allocated for settlement of
 14 claims for civil penalties under PAGA, Labor Code section 2699, et seq. Pursuant to

 15 Labor Code section 2699(i), 75% of that amount ($375,000.00) will be paid to the Labor

 16 and Workforce Development Agency. (Settlement, ¶ 5.2.4.) The remaining 25%

 17 ($125,000.00) will be included as part of the Net Settlement Amount for distribution to

 18 Settlement Class Members as part of each Settlement Class Member’s Individual

 19 Payment. (Id.)

 20               2.    Individual Payment to the Wage Statement Class
 21        To fairly allocate settlement funds based on each Settlement Class Member’s
 22 dates of employment as a Settlement Class Member (excluding weeks during which no

 23 duties were performed), the distribution amount will be calculated as follows: The

 24 Individual Settlement Amount for each Settlement Class Member shall be determined

 25 based on his or her proportional share of the Net Settlement Amount based on the total

 26 number of Applicable Pay Periods worked by each Settlement Class Member during the

 27 Settlement Class Period. (Settlement, ¶ 5.2.5.) Settlement Class Members who,

 28 according to Walmart’s records, who were furnished all of their wage statements as a
                                               11
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 20 of 37 Page ID #:6438




  1 detachable part of a paper check shall be allocated a proportionally lower amount

  2 (50% of the amount) than Settlement Class Members who were not furnished all of

  3 their wage statements as a detachable part of a paper check. (Id.) None of the

  4 payments to Settlement Class Members shall be treated as wages, and no withholdings

  5 shall be made; the QSF shall issue appropriate tax forms, in any, to Settlement Class

  6 members. (Id.).

  7               3.     Proposed Class Representative Service Payment
  8         Plaintiff has been a dedicated and active participant in this litigation. He
  9 assisted in the investigation of facts, reviewed and approved various complaints, kept

 10 in close contact with counsel to monitor the progress of the litigation, and

 11 communicated with counsel regarding the Settlement. (Declaration of James S. Evans

 12 (“Evans Decl.”), ¶ 7.) Plaintiff spent significant time responding to extensive and

 13 broad discovery served by Walmart including having his deposition taken, provided

 14 necessary declarations in support of class certification and in opposition to Walmart’s

 15 motion for partial summary judgment and motion for decertification, and assisted

 16 Plaintiff’s Counsel in preparing for the mediation before Michelle Yoshida. (Id.)

 17 Plaintiff put his name and reputation on the line for the sake of the Class. The class

 18 recovery here would not have been possible without his efforts. In view of these

 19 efforts, Plaintiff will petition the Court for approval of a $20,000.00 Service Payment

 20 to be paid out of the Class Settlement Amount. (Settlement, ¶ 5.2.2.) This amount is

 21 consistent with those approved in other wage and hour class action settlements. (See §

 22 III(4), infra.)

 23         C.    ATTORNEYS’ FEES AND EXPENSES
 24         Plaintiff’s counsel will file a motion for an award of reasonable attorneys’ fees
 25 and reimbursement of litigation costs and expenses 35 days prior to the final fairness

 26 hearing or on another date set by the Court. (Settlement, ¶ 14.1.) Class Counsel

 27 intends to seek up to one-third of the Settlement Fund (i.e., $11,666,666.66) as

 28 attorneys’ fees, and no more than $250,000.00 as reimbursement of expenses.
                                                12
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 21 of 37 Page ID #:6439




  1 (Setareh Decl., ¶ 31.) (Settlement, ¶ 5.2.1 and Exhs. A, B.) Any approved fees and

  2 expenses will be paid out of the Class Settlement Amount.

  3         This Circuit permits two methods of calculating attorneys’ fee awards in class
  4 actions: (1) the “lodestar” method and (2) the “percentage-of-recovery” method. In re

  5 Hyundai & Kia Fuel Econ. Litig., 926 F.3d 539, 570 (9th Cir. 2019). Under the

  6 lodestar method, the court multiplies the number of hours the prevailing party

  7 reasonably spent on litigation by a reasonable hourly rate to determine a

  8 presumptively reasonable fee award. See Yamada v. Nobel Biocare Holding AG, 825

  9 F.3d 536, 546 (9th Cir. 2016). The court may then “adjust” the award “by an

 10 appropriate positive or negative multiplier reflecting . . . the quality of representation,

 11 the benefit obtained for the class, the complexity and novelty of the issues presented,

 12 and the risk of nonpayment.” In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d at

 13 941–42 (quoting Hanlon, 150 F.3d at 1029). Benefit to the class is the “[f]oremost”

 14 consideration. Id. at 942.

 15         The percentage-of-recovery approach may be used “where the defendants
 16 provide monetary compensation to the plaintiffs” and class benefit is easy to quantify.

 17 See In re Hyundai, 926 F.3d at 570. Under this method, “the court simply awards the

 18 attorneys a percentage of the fund sufficient to provide class counsel with a

 19 reasonable fee.” Hanlon, 150 F.3d at 1029. Injunctive relief is inherently difficult to

 20 monetize. Yamada, 825 F.3d at 547. Thus, a district court must exercise caution when

 21 using the value of injunctive relief to determine proportional attorneys’ fees and

 22 should generally avoid valuing hard-to-measure injunctive relief altogether, “because

 23 of the danger that parties will overestimate the value of injunctive relief in order to

 24 inflate fees.” Roes v. SFBSC Mgmt., LLC, 944 F.3d 1035, 1055 (9th Cir. 2019).

 25         Here, as will be explained in more detail when Class Counsel submits their
 26 motion for attorneys’ fees, the attorneys’ fees sought is justified as this case has been

 27 diligently and aggressively litigated against Walmart for almost four years and was

 28 only resolved shortly before trial. Class Counsel engaged in extensive factual and
                                                13
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 22 of 37 Page ID #:6440




  1 legal investigation prior to the filing of the lawsuit, and engaged in comprehensive

  2 discovery, including deposing Walmart’s Rule 30(b)(6) witness and defending

  3 Plaintiff’s deposition. In addition to successfully certifying the Wage Statement

  4 Class, Class Counsel also defeated Walmart’s motion for summary judgment and

  5 decertification. The costs of this action were borne solely by Class Counsel including

  6 advancing the costs of sending class notice to the Settlement Class Members and

  7 retaining an expert to calculate class-wide damages. Class Counsel participated in

  8 mediation (although unsuccessful) and litigated this action through the FPTC and

  9 having fully briefed Plaintiff’s motions in limine and opposing Walmart’s motions in

 10 limine.

 11        Accordingly, Class Counsel has provided a tremendous benefit to the class that
 12 is easy to quantify. Thus, the attorneys’ fee sought is not only justified, but should be

 13 awarded by this Court.

 14        D.     The Settlement Class Representative and Settlement Class Counsel
 15        The parties have agreed that Plaintiff is the Settlement Class Representative
 16 and that Plaintiff’s attorneys are Settlement Class Counsel for the Settlement Class.

 17 (Settlement, ¶¶ 2.34 and 2.37.)

 18        E.     Class Notice
 19        The Parties have agreed to notify the Settlement Class about the settlement by
 20 sending the notice by postcard directing them to the Settlement Website.

 21        The proposed Notice forms are attached to the Settlement as Exhibits A
 22 (Postcard Notice) and B (Long Form Notice). (Settlement, ¶ 6.1.5.) Each Settlement

 23 Class Member shall be mailed a postcard, substantially in the form of Exhibit A to the

 24 Settlement, that includes basic information including summary of the settlement, a

 25 description of who is a class member, identifying Settlement Class Counsel, directing

 26 Settlement Class Members to the Settlement Website and instructions on how to

 27 proceed, substantially in the form attached as Exhibit B to the Settlement. (Id.)

 28        The Settlement Website will communicate all important information,
                                               14
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 23 of 37 Page ID #:6441




  1 deadlines, and the Long Form Notice. (Setareh Decl., ¶ 33.) This website shall have

  2 all relevant Motions, Orders and pleadings available for download as well as a copy

  3 of the Settlement Agreement. (Id.) Additionally, a toll-free telephone number, email

  4 and physical mailing address will be made available will be made available for

  5 Settlement Class Members to contact the Settlement Administrator or Settlement

  6 Class Counsel directly. (Id.) The costs of Notice will be paid out of the Class

  7 Settlement Amount. (Settlement, ¶ 5.1.) The Notice Plan is the best practicable

  8 notice under the circumstances and meets all due process requirements. (Setareh

  9 Decl., ¶ 33.)

 10        F.       The Settlement Administrator Was Selected After Obtaining
                    Multiple Bids
 11

 12        Phoenix Settlement Administrators was selected after a competitive bidding
 13 process led by Class Counsel. (Setareh Decl., ¶ 35.) Settlement Class Counsel

 14 considered proposed from two other potential administrators. (Id.) Settlement Class

 15 Counsel – each of whom have litigated hundreds of class actions to settlement –

 16 previously have worked with Phoenix Settlement Administrators, the two other

 17 bidders, as well as other professional administrators. (Id., ¶ 35.) The estimated

 18 amount of $535,475.00 cost for settlement and notice administration for

 19 approximately 265,000 potential Settlement Class Members is reasonable. (Id., ¶ 36.)

 20                 1.   The Court Should Approve the Establishment of a Qualified
 21                      Settlement Fund
 22        Under the Settlement, Walmart has agreed to transfer the required portions of
 23 the Class Settlement Amount into a Qualified Settlement Fund as described in

 24 Treasury Regulation § 1.468B-1, 26 C.F.R. § 1.468B-1, in full settlement and

 25 discharge of the Settlement Class Members’ claims against Walmart that are included

 26 under the Settlement. The Parties determined that establishing a Qualified Settlement

 27 Fund to receive and hold the settlement funds, and to distribute the funds according to

 28 the terms of the Settlement Agreement and under the administration of the Settlement
                                              15
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 24 of 37 Page ID #:6442




  1 Administrator would serve the Parties’ best interests, and request that the Court

  2 approve the establishment of a Qualified Settlement Fund.6

  3           Court approval of the establishment of the Qualified Settlement Fund serves the
  4 Settlement Class Members’ interests by assuring that the Class Settlement Amount is

  5 transferred by Walmart following approval of this Motion, and benefits Walmart by

  6 assuring finality to the claims against it in this case that are the subject of the

  7 Settlement.7

  8 IV.       LEGAL ARGUMENT AND STANDARD8
  9           Class action settlements are permitted “only with the court's approval ... after a
 10 hearing and on a finding that [the agreement] is fair, reasonable, and adequate.” Rule

 11 23(e). Courts certify proposed class-settlement actions in two phases. First, the court

 12 holds a preliminary fairness hearing to determine whether provisional class

 13 certification is appropriate and whether the proposed settlement is fair. Then, after all

 14 absent class members are notified about the litigation and given a chance to object or

 15 opt-out, the court holds a final fairness hearing. See In re Bluetooth Headset Prods.

 16 Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011).

 17

 18
      6
 19     The Qualified Settlement Fund will be administered by the Settlement
      Administrator, who, along with the Qualified Settlement Fund, will remain subject to
 20   the continuing jurisdiction of this Court. The Qualified Settlement Fund will be a
      segregated bank account opened at a financial institution mutually agreed by the
 21   Parties. The Qualified Settlement Fund account will receive the Class Settlement
      Amount from Walmart and will hold that sum, and the earnings thereon, until the
 22   Settlement Administrator has completed all administration of such funds and income
      thereon, as well as disbursements to Settlement Class Members and Class Counsel,
 23   and payment of taxes and administrative costs, as more fully set forth in Section 11 of
      the Settlement Agreement and subject to further approval of this Court, if required.
 24
      With the Court’s approval, the parties intend for the establishment of a Qualified
      7

 25 Settlement  Fund to satisfy the requirements of Treasury Regulation § 1.468B-1(c),
    C.F.R. § 1.468B-1(c), by (a) being established under this Court’s approval, (b)
 26 resolving and satisfying claims against Walmart for alleged violations of law, and (c)
    constituting a segregated account, as required by those regulations.
 27   8
     Walmart does not concede that class certification is appropriate in this action, but
 28 Walmart  does not oppose certification of a Settlement Class for settlement purposes
    consistent with the Parties Settlement Agreement (Settlement ¶¶ 3.6, 4.1, 16.1.)
                                                  16
          NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 25 of 37 Page ID #:6443




  1        The Ninth Circuit has declared that a strong judicial policy favors settlement of
  2 class actions. Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992).

  3 Nevertheless, where, as here, “parties reach a settlement agreement prior to class

  4 certification, courts must peruse the proposed compromise to ratify both [I] the

  5 propriety of the certification and [II] the fairness of the settlement.” Staton v. Boeing

  6 Co., 327 F.3d 938, 952 (9th Cir. 2003). “This independent judicial review protects the

  7 due process rights of absent class members who have not yet appeared” especially

  8 where, as here, “the settlement agreement is negotiated in their absence.” Acosta v.

  9 Evergreen Moneysource Mortgage Company, 2018 WL 3831004 at *2 (E.D. Cal.

 10 Aug. 13, 2018) (citing Bluetooth, 654 F.3d at 946).

 11        As a preliminary matter, this Court previously certified ... a Rule 23(b)(3) class
 12 .... [Thus, it] need not analyze whether the requirements for certification have been

 13 met and may focus instead on whether the proposed settlement is fair, adequate, and

 14 reasonable.”); In re Apollo Group Inc. Securities Litigation, 2012 WL 1378677 at *4

 15 (D. Ariz. Apr. 20, 2012) (“The Court has previously certified, pursuant to Rule 23[,]

 16 ... and hereby reconfirms its order certifying a class”). Moreover, under the law of

 17 the case doctrine, a court is generally precluded from reconsidering an issue that has

 18 already been decided by the same court or a higher court in the identical case. U.S. v.

 19 Alexander, 106 F.3d 874 (9th Cir. 1997). The doctrine is not a limitation on a

 20 tribunal’s power but, rather, a guide to discretion. (Id.)

 21        In determining whether a proposed settlement is fair, adequate and reasonable,
 22 courts must balance a number of factors, including: “(1) the strength of the plaintiff’s

 23 case; (2) the risk, expense, complexity, and likely duration of further litigation; (3)

 24 the risk of maintaining class action status throughout the trial; (4) the amount offered

 25 in settlement; (5) the extent of discovery completed, and the stage of the proceedings;

 26 (6) the experience and views of counsel; (7) the presence of a governmental

 27 participant; and (8) the reaction of the class members to the proposed settlement.”

 28 Staton v. Boeing Co., 327 F.3d 938, 959 (9th Cir. 2002); see also, Torrisi v. Tucson
                                                17
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 26 of 37 Page ID #:6444




  1 Elec. Power Co., 8 F.3d 1370, 1375 (9th Cir. 1993).

  2         A.     THE FORM AND MANNER OF NOTICE TO THE CLASS
                   SATISFIES FED.R.CIV. P. 23(e)(1) AND SHOULD BE
  3                APPROVED
  4
            Federal Rule of Civil Procedure 23(e)(1) requires that “[t]he court must direct
  5
      notice in a reasonable manner to all class members who would be bound” by the
  6
      Settlement. AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 349 (2011).
  7
      Accordingly, the Notice and Summary Notice “describe[] the terms of the settlement in
  8
      sufficient detail to alert those with adverse viewpoints to investigate and to come
  9
      forward and be heard[,]” Churchill Vill, LLC v. Gen. Elec, 361 F.3d 566, 575 (9th Cir.
 10
      2004), and “provide sufficient information to allow class members to decide whether
 11
      they should accept the benefits of the settlement, opt out and pursue their own remedies,
 12
      or object to its terms[,]” Spann v. J.C. Penney Corporation, 314 F.R.D. 312, 330 (C.D.
 13
      Cal. Jan. 25, 2016). The manner of providing notice, which includes individual notice by
 14
      mail to all Class Members who can be reasonably identified, represents the best notice
 15
      practicable under the circumstances and satisfies the requirements of due process and
 16
      Rule 23. See, e.g., Monterrubio v. Best Buy Stores, L.P., 291 F.R.D. 443, 452-53 (E.D.
 17
      Cal. 2013) (approving similar form of notice).
 18
            Here, the Settling Parties negotiated the form of the Notice to be disseminated to
 19
      all persons who fall within the definition of the Settlement Class and whose names and
 20
      addresses can be identified with reasonable effort. In addition, the Claims Administrator
 21
      will send a postcard notice to all putative class members directing them to a website that
 22
      contains the Class Notice along with all pertinent information regarding this action and
 23
      the terms and conditions of settlement. As the wage statement claim involves the
 24
      payment of a penalty, providing notice via a postcard that sets out the general terms with
 25
      the long form notice posted on a website accessible through any web browser will not
 26
      only result in cost-savings in mailing several hundred thousand dollars if each Settlement
 27
      Class Member were to be mailed a long form notice, but also the resulting savings will
 28
                                                  18
       NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 27 of 37 Page ID #:6445




  1 be passed on to the Settlement Class Members themselves who do not opt out of the

  2 settlement. The Postcard Notice and Long Form Settlement Class Notice are attached to

  3 the Settlement Agreement as Exhibits A and B. (Setareh Decl., ¶ 24.)

  4         In addition, Rule 23(h)(1) requires that “[n]otice of the motion [for attorneys’
  5 fees] must be served on all parties and, for motions by class counsel, directed to class

  6 members in a reasonable manner.” Fed. R. Civ. P. 23(h)(1). Here, the Notice satisfies the

  7 requirements of Rule 23(h)(1), as it notifies Class Members that Lead Counsel will apply

  8 to the Court for attorneys’ fees of no more than one-third of the Settlement Fund, after

  9 costs and expenses, and expenses of no more than $250,000.00 plus the costs of

 10 settlement administration. (Settlement, ¶ 5.2.1.)

 11         The proposed Notice describes the Settlement and sets forth the maximum total
 12 amount of the Settlement Fund ($35 million) and the estimated average per share

 13 recovery; states the Settling Parties’ disagreement over liability and damages; sets out

 14 the amount of attorneys’ fees and expenses that Plaintiff’s counsel intends to seek in

 15 connection with final settlement approval; and describes the plan of allocation.

 16 (Settlement, ¶ 6.1.5.) In addition, the Notice explains the nature, history, and status of

 17 the Action; sets forth the definition of the Settlement Class; describes the Settlement

 18 Class’ claims and the class-wide issues; discusses the rights of persons who fall within

 19 the definition of the Settlement Class; and summarizes the reasons the Settling Parties

 20 are proposing the Settlement. (Settlement, ¶ 6.1.5, Exhs. A, B.)

 21         Further, Settlement Class Members are not required to submit a claim in order to
 22 participate in the Settlement. (Settlement, ¶ 5.2.5.) The Notice also provides the name

 23 and mailing address for the Settlement Administrator, Plaintiff’s counsel, and

 24 Defendant’s counsel. (Settlement, ¶ 6.1.1.) The Class Notice also informs Settlement

 25 Class Members that copies of the Notice and Settlement Agreement may be obtained by

 26 writing the Claims Administrator, calling a toll-free number, or by accessing the

 27 documents on the website of the Claims Administrator. (Settlement, ¶ 6.1.5.)

 28         Finally, the Class Notice sets forth the date, time and place of the Final Approval
                                                 19
       NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 28 of 37 Page ID #:6446




  1 Hearing, along with the procedures for objecting to or seeking exclusion from the

  2 Settlement. (Id.; Exhs. A, B.)

  3         B.     THE PROPOSED SETTLEMENT SATISFIES FED.R.CIV. P.
                   23(e)(2) BECAUSE IT IS FAIR, REASONABLE AND ADEQUATE
  4

  5         Approval of a class action settlement requires two stages of judicial approval: (i)
  6 preliminary approval, followed by the distribution of notice to the class, and (ii) final

  7 approval. Murillo v. Pac. Gas & Elec. Co., 266 F.R.D. 468, 473 (E.D. Cal. 2010)

  8 (“Procedurally, the approval of a class action settlement takes place in two stages.”); see

  9 also Natl Rural Telecommc’ns Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525 (CD. Cal.

 10 2004). “In the first stage of the approval process, the court preliminarily approve[s] the

 11 Settlement pending a fairness hearing, temporarily certifie[s] the Class …, and

 12 authorize[s] notice to be given to the Class.” Murillo, 266 F.R.D. at 473 (alterations in

 13 original, citation and internal quotations omitted).

 14         At this initial preliminary approval stage, the “Court need only determine whether
 15 the proposed settlement appears on its face to be fair” and “falls within the range of

 16 possible approval.” Hanlon, 150 F.3d at 1026; Williams v. Costco Wholesale Corp., No.

 17 02cv2003 IEG (AJB), 2010 U.S. Dist. LEXIS 19674, at *15-16 (S.D. Cal. Mar. 4,

 18 2010); see also In re Wireless Facilities, Inc. Sec. Litig. II, 253 F.R.D. 607, 612 (S.D.

 19 Cal. 2008). In considering whether to grant preliminary approval of a proposed class

 20 action settlement, courts make a preliminary evaluation of the fairness of the settlement.

 21 At this stage, however, the Court is not required to make a final determination as to

 22 whether the proposed settlement will ultimately be found to be fair, reasonable, and

 23 adequate. Rather, that evaluation is made only at the final approval stage, after notice of

 24 the proposed settlement has been given to the members of the class and class members

 25 have had an opportunity both to voice their views of the proposed settlement and to

 26 exclude themselves from the class. See Williams, 2010 U.S. Dist. LEXIS 19674, at *14-

 27 15 (“Given that some [] factors cannot be fully assessed until the Court conducts the

 28 Final Approval Hearing, ‘a full fairness analysis is unnecessary at this stage.”’).
                                                 20
       NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 29 of 37 Page ID #:6447




  1         As demonstrated below, the proposed Settlement is a fair result in light of the
  2 circumstances present in this action. Given the risks of litigation, the Settlement

  3 represents a favorable resolution of this action and eliminates the risk that the Class

  4 might otherwise recover nothing at all. Accordingly, the proposed Settlement satisfies

  5 the criteria for preliminary approval and is well within the range of possible approval.

  6               1.     The Class Representatives and Class Counsel Have
                         Adequately Represented the Class
  7

  8         To satisfy the requirement of Fed.R.Civ.P. 23(e)(2)(A), a court must consider
  9 whether the class representatives and class counsel have adequately represented the

 10 class. In other words, the proposed class representative must be free of interests that

 11 are antagonistic to the other members of the class, and counsel representing the class

 12 must be qualified, experienced, and capable of conducting the litigation. Lerwill v.

 13 Inflight Motion Pictures, Inc., 582 F.2d 507, 512 (9th Cir. 1978) (citation omitted);

 14 Hanlon, 150 F.3d at 1020. Here, this Court has already determined that Plaintiff and

 15 Class Counsel have no conflicts with other class members. (ECF 95, 19:24-25.) And

 16 as thoroughly explained in Section II, Plaintiff and Class Counsel have vigorously

 17 prosecuted this action through the FPTC. Plaintiff and Class Counsel have

 18 prosecuted this action vigorously on behalf of the Settlement Class and will continue

 19 to do so. (ECF 95. 19:26-20:3); Ebarle v. Lifelock, Inc., No. 15-cv-00258-HSG, 2016

 20 WL 234364, at *4 (N.D. Cal. Jan. 20, 2016) (citing In re Mego Fin. Corp. Sec. Litig.,

 21 213 F. 3d 454, 462 (9th Cir. 2000)). In addition, Class Counsel engaged Stan

 22 Saltzman of Marlin & Saltzman LLP as trial counsel who has substantial experience

 23 class action trial experience. (Declaration of Stanley D. Saltzman (“Saltzman Decl.”,

 24 2, 4-12.)

 25               2.     The Proposal Was Negotiated at Arm’s Length
 26         The proposed Settlement satisfies Fed.R.Civ.P. 23(e)(2)(B) because it is the
 27 product of serious, informed, non-collusive negotiations between experienced and

 28 capable counsel. See, Rodriguez v. West Publishing Corp., 563 F.3d 948, 965 (9th
                                                 21
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 30 of 37 Page ID #:6448




  1 Cir. 2009) (“We put a good deal of stock in the product of an arms-length, non-

  2 collusive, negotiated resolution”); National Rural Telecommunications Cooperative

  3 v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal. Jan. 5, 2004) (“A settlement

  4 following sufficient discovery and genuine arms-length negotiation is presumed fair,”

  5 citing City Partnership Co. v. Atlantic Acquisition Ltd. P’ship, 100 F. 3d 1041, 1043

  6 (1st Cir. 1996)). Plaintiff’s counsel is a highly respected plaintiffs’ class action

  7 litigator, has prosecuted this action from its early stages, and is deeply familiar with

  8 the strengths and weaknesses of the claims and defenses. Plaintiff’s counsel

  9 negotiated with counsel for Walmart, Greenberg Traurig LLP, a premier international

 10 defense firm. These negotiations were at arms’-length and were reached on the

 11 morning of the FPTC, and after both sides having conducted extensive discovery and

 12 law and motion including a motion for summary judgment and motion for

 13 decertification brought by Walmart, as well as having participated in a full-day

 14 mediation session on December 7, 2020 before a private mediator. (Setareh Decl., ¶

 15 22.) Prior to the mediation, the parties prepared and exchanged comprehensive

 16 mediation statements.

 17        As the foregoing demonstrates, the proposed settlement is the product of
 18 serious, informed, non-collusive negotiations and there is no basis to believe

 19 otherwise. The parties reached a settlement on April 30, 2021, the day of the Final

 20 Pre-Trial Conference. (ECF 226.) Moreover, this Court had advised the parties that

 21 the dates set for trial may or may not proceed and that the parties should be prepared

 22 to move forward. (Tr. August 4, 2020, 18:8-20:13.) The parties subsequently filed a

 23 joint stipulation continuing the trial date to June 15, 2021 (ECF 185) which was

 24 subsequently entered by the Court. (ECF 187.) Due to the fast-approaching trial date,

 25 there was no time for the parties to participate in another mediation session.

 26               3.     The Relief Provided for the Class Is Adequate
 27                      a.    The Costs, Risks and Delay of Trial and Appeal
 28        With respect to the claims asserted on behalf of the settlement Class in this case,
                                                22
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 31 of 37 Page ID #:6449




  1 there are significant risks that support the reduced compromise amount. (Fed.R.Civ.P.

  2 23(e)(2)(C)(i).) These risks include, but are not limited to:

  3         (a)    the risk that the Supreme Court’s recent decision in TransUnion LLC v.
  4 Ramirez, 141 S. Ct. 2190 (2021), holding that only a plaintiff concretely harmed by a

  5 defendant’s conduct has Article III standing to seek damages in federal court may result

  6 in a finding that the putative class lacks standing to recover damages;

  7         (b)    the risk that uncertainties pertaining to the ultimate legality of Defendant’s
  8 policies and practices could preclude class-wide awards of statutory penalties under

  9 Labor Code section 226(e);

 10         (c)    the risk that any civil penalties award under the PAGA could be reduced by
 11 the Court in its discretion, see Labor Code section 2699(e)(1);

 12         (d)    the risk that lengthy appellate litigation could ensue. As there is a dearth of
 13 state court authority, there is a high likelihood that this Court will certify the issue to the

 14 California Supreme Court on the issue of whether an employer satisfies the requirements

 15 of Labor Code section 226 by furnishing electronic wage statements without affording

 16 employees an option to elect paper wage statements. Walmart strongly denies any

 17 liability and the propriety of class certification for any reason other than settlement.

 18 Continued litigation of this lawsuit presented Plaintiff and Defendant with substantial

 19 legal risks that were (and continue to be) very difficult to assess.

 20         Plaintiff and the Class ran the risk that no recovery would be obtained in the
 21 action if the matter proceeded to trial. (Setareh Decl., ¶ 38.) At the time the proposed

 22 Settlement was reached, both parties had pending fully briefed motions in limine that

 23 could be dispositive as to the other party. (Id.) Moreover, both parties had already

 24 taken and defended multiple depositions of the other party and their respective

 25 experts, with Plaintiff having survived summary judgment and decertification

 26 motions brought by Walmart, and with an impending trial and post-trial appeals

 27 before the case saw a positive conclusion, all of which were taken into account by

 28 both parties when agreeing to the Settlement. (Id.)
                                                   23
       NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 32 of 37 Page ID #:6450




  1        The amount offered in settlement is generally considered to be the most
  2 important considerations of any class settlement. See Bayat v. Bank of the West, 2015

  3 WL 1744342, at *4 (N.D. Cal. Apr. 15, 2015) (citing, inter alia, In re HP Inkjet

  4 Printer Litig., 716 F.3d 1173, 1178-79 (9th Cir. 2013). To determine whether that

  5 settlement amount is reasonable, the Court must consider the amount obtained in

  6 recovery against the estimated value of the class claims if successfully litigated. Litty

  7 v. Merrill Lynch & Co., Inc., 2015 WL 4698475, at *9 (C.D. Cal. Apr. 27, 2015)

  8 (quoting In re Mego Financial Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000));

  9 see also Officers for Justice v. Civil Service Com’n of City and Cty. of S.F., 688 F.2d

 10 615, 628 (9th Cir. 1982) (“[A] cash settlement amounting to only a fraction of the

 11 potential recovery will not per se render the settlement inadequate or unfair.”). Courts

 12 regularly approve class settlements where class members recover less than one

 13 quarter of the maximum potential recovery amount. See Bravo v. Gale Triangle, Inc.,

 14 2017 WL 708766, *10 (C.D. Cal. Feb. 16, 2017) (approving a settlement where net

 15 recovery to class members was approximately 7.5% of the projected maximum

 16 recovery amount); Bellinghausen v. Tractor Supply Co., 306 F.R.D. 245, 256 (N.D.

 17 Cal. 2015) (approving a settlement where the gross recovery to the class was

 18 approximately 8.5% of the maximum recovery amount).

 19        Against these risks, Plaintiff’s counsel considered the benefits to the Class of
 20 securing a $35 million cash settlement immediately. (Setareh Decl., ¶ 39.) (Saltzman

 21 Decl., ¶ 2.) Plaintiff’s counsel considered that, according to the estimates of damages

 22 expert retained by Plaintiff’s counsel, $400,445,900 was calculated for the wage

 23 statement penalties and an additional $651,243,650 for PAGA penalties. (Id.)

 24 “Unlike class actions, [PAGA] civil penalties are not meant to compensate unnamed

 25 employees because the action is fundamentally a law enforcement action.” Ochoa-

 26 Hernandez v. Cjaders Foods, Inc. 2010 WL 134077, at *4 (N.D. Cal. Apr. 2, 2010);

 27 Arias v. Superior Court (2009) 46 Cal. 4th 969 (“The act’s declared purpose is to

 28 supplement enforcement actions by public agencies, which lack adequate resources to
                                               24
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 33 of 37 Page ID #:6451




  1 bring all such actions themselves.”) Moreover, although civil penalties are

  2 “mandatory, not discretionary” they are still subject to reduction in the court’s

  3 discretion PAGA penalties are subject to the discretion of the court. Fleming v.

  4 Covidien, No. ED CV 10-01487 RGK (OPx), 2011 WL 7563047 at *4 (C.D. Cal.

  5 Aug. 12, 2011) (reducing PAGA penalties from $2,800,000 to $500,000); See,

  6 e.g., Viceral v. Mistras Grp., Inc. (N.D. Cal. Oct. 11, 2016, 2016 WL 5907869 at *9

  7 (preliminarily approving class action settlement that included a PAGA set-aside of

  8 just 0.15 percent of the PAGA claim’s full potential value, where “Plaintiffs face[d] a

  9 substantial risk of recovering nothing on either the class or PAGA claims”); Cotter v.

 10 Lyft, Inc. (N.D. Cal. 2016) 193 F.Supp.3d 1030, 1037 (preliminarily approving class

 11 action settlement allocating a PAGA set-aside worth a fraction of the PAGA claim’s

 12 potential value, where the defendant’s obligations were “genuinely unclear” and there

 13 was no evidence the defendant acted deliberately or negligently failed to learn about

 14 its obligations).

 15        First, Class Counsel applied a 50% discount due to the probability of prevailing
 16 at trial due to the fact that (1) Walmart raised the issue that 15,646 associates

 17 (representing approximately 8% of the entire class) switched from an electronic wage

 18 statement to paper wage statements; (2) this Court’s class certification order, order

 19 denying Walmart’s motion for summary judgment, order denying Walmart’s motion

 20 for decertification were all based on Walmart not having a written policy permitting

 21 associates to elect paper wage statements once they elected electronic wage

 22 statements. (Setareh Decl., ¶ 40.) Accordingly, it is entirely plausible that a jury

 23 could infer that there was some mechanism by which Walmart associates could

 24 switch from electronic to paper wage statements.

 25        Second, Class Counsel applied a 50% discount due to the probability of
 26 prevailing on appeal due to the fact that (1) the claims were based on an issue of first

 27 impression (i.e. whether Walmart complied with Labor Code section 226 by

 28 providing electronic wage statements without an opportunity to elect paper wage
                                                25
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 34 of 37 Page ID #:6452




  1 statements); (2) this Court’s order granting class certification, denying Walmart’s

  2 motion for summary judgment, denying Walmart’s motion for decertification, and the

  3 parties’ fully briefed motions in limine would all be subject scrutiny on review; (3)

  4 Walmart has a track record of being able to obtain reversal of unfavorable rulings.

  5 Magadia v. Wal-Mart Assocaites, Inc., 999 F.3d 668 (9th Cir. 2021) (obtaining

  6 reversal of a district court’s entry of $102 million judgment); Mays v. Wal-Mart

  7 Stores, Inc., 804 Fed.Appx. 641 (9th Cir. 2020) (reversing district court’s order

  8 certification of the Wage Statement Class); and (4) the Supreme Court’s recent

  9 decision in TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021) may result in a finding

 10 that the putative class lacks standing to recover damages. (Setareh Decl., ¶ 41.)

 11           Accordingly, after applying the discounts above to the total potential recovery
 12 to just the wage statement claim of $554,676,8009, the $35 million settlement

 13 constitutes approximately 25% ($554,676,800 - $277,338,400 (50%) - $138,669,200

 14 (50%) = $138,669,200) of the realistic maximum recoverable damages in this case.

 15 (Setareh Decl., ¶ 42.)

 16           Plaintiff’s counsel submit that, weighted against these challenges and
 17 uncertainties, and considering maximum possible recovery, the immediate $35

 18 million cash recovery for the Settlement Class is well within the range of possible

 19 approval. See, e.g., Redwen v. Sino Clean Energy, Inc., No. CV 11-3936 PA (SSx),

 20 2013 WL 12303367, at *6 (C.D. Cal. July 9, 2013) (“[A] recovery between 7% and

 21 20% is ‘well within range of reasonableness’” (quoting In re Paine Webber Ltd.

 22 P’Ships Litig, 147 F.3d 132, 132 (2nd Cir. 1998))).

 23           In light of the uncertainties of protracted litigation, the settlement amount reflects
 24 a fair and reasonable recovery for the settlement Class Members. (Setareh Decl., ¶ 42.)

 25 The settlement amount is, of course, a compromise figure. (Id.) By necessity it took into

 26

 27   9
      This is an extrapolation based on the data previously provided adjusting for an increase in the class
 28 size to 265,000.
                                                      26
          NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 35 of 37 Page ID #:6453




  1 account risks related to liability, damages, and all the defenses asserted by the

  2 Defendant. (Id.)

  3                      b.     The Effectiveness of Any Proposed Method of Distributing
                                Relief to the Class, Including the Method of Processing
  4                             Class-Member Claims
  5         The method of distributing relief to the class satisfies Fed.R.Civ.P. 23(e)(2)(C)(ii).
  6 And, confirming the fundamental fairness of the settlement, each Class Member will be

  7 compensated based on the number of workweeks they worked during the class period.

  8 (Settlement, ¶ 5.2.5.) Settlement Shares will be calculated based on the Net Settlement

  9 Amount times the ratio of the total pay periods worked by each Class Members for

 10 Defendant in the State of California during the Class Period to the total pay periods

 11 worked by all Settlement Class Members for Defendant in the State of California during

 12 the Settlement Class Period, with discount applied for persons who were paid wholly by

 13 pay of a wage statement with a detachable check. (Id.) If the Court awards all of the

 14 requested amounts, the average Settlement Share is estimated to be $83.61 before taxes.

 15 (Setareh Decl., ¶ 44.)

 16         The entire Class Settlement Amount will be paid out; none of it will revert to
 17 Walmart. Settlement checks that are uncashed after ninety (90) days and additional

 18 notice to the Settlement Class Members will be paid to State of California Unclaimed

 19 Property Fund in the name of the Settlement Class Member. (Settlement, ¶ 10.3.)

 20         Moreover, each Settlement Class Member will be given the opportunity to opt out
 21 of the Settlement, allowing those who feel they have claims that are greater than the

 22 benefits they can receive under this Settlement, to pursue their own claims. (Id., ¶ 8.)

 23                      c.     The Terms of Any Proposed Award of Attorneys’ Fees,
                                Including Timing of Payment
 24

 25         As for the matter of attorneys’ fees and reimbursement of expenses, that will be
 26 subject to the Court’s oversight and approval at the final approval stage. (Fed.R.Civ.P.

 27 23(e)(2)(C)(iii).) As indicated in the proposed Class Notice, Plaintiff’s counsel will not

 28 seek a fee in excess of one-third of the Class Settlement Amount and will not seek
                                                 27
       NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 36 of 37 Page ID #:6454




  1 reimbursement of expenses above $250,000.00. (Settlement, ¶ 30.)

  2        Thus, there is no reason to doubt the fairness of the Settlement, and the Settlement
  3 has no obvious deficiencies.

  4                        d.     Any Agreement Required to Be Identified Under Rule
                                  23(e)(3)
  5

  6        The parties have identified the Settlement as the only agreement made in
  7 connection with the proposed settlement. (Setareh Decl., ¶ 46.) Accordingly, Rule

  8 23(e)(2)(C)(iv) is satisfied.

  9               4.       The Proposal Treats Class Members Equitably to Each Other
 10        Settlement Shares will be calculated based on the Net Settlement Amount times
 11 the ratio of the total pay periods worked by each Class Members for Defendant in the

 12 State of California during the Class Period to the total pay periods worked by all Class

 13 Members for Defendant in the State of California during the Class Period. (Settlement, ¶

 14 5.2.5.) If the Court awards all of the requested amounts, the average Settlement Share is

 15 estimated to be $83.61 before taxes. (Setareh Decl., ¶ 44.)

 16 V.     PROPOSED SCHEDULE OF EVENTS
 17        Plaintiff proposes the following schedule for approval of the Settlement, which
 18 assumes that preliminary approval of the Settlement is granted on November 12, 2021:

 19
                         Date                                   Event
 20                    12/13/21     Defendant to provide to Settlement Administrator database
                                    containing Class Member information necessary to calculate
 21                                 Settlement Shares (30 calendar days after Preliminary
                                    Approval)
 22
                       01/03/22     Settlement Administrator to mail Class Notice Packets to all
 23                                 Class Members (20 calendar days after Defendant provides
                                    data to Settlement Administrator)
 24                    02/17/22     Last day for Class Members to file with the Court and serve
                                    upon counsel for the parties objections to Settlement (45
 25                                 calendar days after Settlement Administrator mails Class
                                    Notice Packets to all Class Members)
 26
                                    Last day for Class Members to mail Elections Not to
 27                                 Participate in Settlement (45 calendar days after Settlement
                                    Administrator mails Class Notice Packets to all Class
 28                                 Members)
                                                   28
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:17-cv-07641-AB-KK Document 239 Filed 09/03/21 Page 37 of 37 Page ID #:6455




  1                 Date                                   Event
  2               03/18/22     Date by which parties will submit their joint motion for final
                               approval of settlement (35 calendar days before Final
  3                            Approval Hearing)
                               Date by which Plaintiff and Class Counsel will submit their
  4                            motion for Class Representative Payments and Class Counsel
                               Fees and Expenses Payment (35 calendar days before Final
  5                            Approval Hearing)
  6               04/22/22     Hearing on joint motion for final approval of settlement

  7

  8 DATED: September 3, 2021               SETAREH LAW GROUP
  9

 10                                        /s/ Shaun Setareh
                                           SHAUN SETAREH
 11                                        Attorneys for Plaintiff
                                           JAMES S. EVANS
 12

 13 DATED: September 3, 2021               MARLIN & SALTZMAN LLP
 14

 15                                        /s/ Stanley D. Saltzman
                                           STANLEY D. SALTZMAN
 16                                        Attorneys for Plaintiff
                                           JAMES S. EVANS
 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                               29
      NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
